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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES--GENERAL

  Case No. CV 07-3239-TJH (RNBx)                                         Date: April 25, 2011

  Title: Alejandro Rodriguez, et al. v. Timothy S. Robbins, et al.
  DOCKET ENTRY

  PRESENT:
             HON. ROBERT N. BLOCK, UNITED STATES MAGISTRATE JUDGE
                        Joe Roper                             n/a
                       Deputy Clerk                     Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFFS:               ATTORNEYS PRESENT FOR DEFENDANTS:
        None present                                    None present

  PROCEEDINGS: (IN CHAMBERS)

         Petitioners’ Motion to Compel and Respondents’ Motion for Protective
         Order, filed April 15, 2011
         Based on its review of the Joint Stipulation and the parties’ Supplemental
  Memoranda, the Court is satisfied that counsel have complied with their meet and confer
  obligation and that the Joint Stipulation complies with Local Rule 37-2.1. Further, the
  Court has concluded that oral argument will not be of material assistance to the Court’s
  determination of these related Motions.
         Preliminarily, in ruling on the remaining discovery requests in dispute, the Court
  has not considered or credited any arguments by the Government that were either
  explicitly or implicitly rejected by the District Judge when he granted petitioners’ motion
  to clarify the class-certification order and/or denied the Government’s motion for
  judgment on the pleadings. Thus, for example, the Court has not considered or credited
  the Government’s argument that discovery relating to aliens detained under § 1225(b)
  need not be provided because such aliens do not have any due process rights with respect
  to release on parole. The Court also has not considered or credited any other arguments
  by the Government that go solely to the merits of petitioners’ claims. The issue before
  the Court is not whether petitioners are unlikely to prevail on their claims with respect
  to any or all of the sub-classes, but rather whether the discovery sought falls within the
  scope of permissible discovery, which the Court defines as follows: any unprivileged
  matter relevant to the claim or defense of any party, and/or relevant information
  reasonably calculated to lead to the discovery of admissible evidence. See Fed. R. Civ.
  P. 26(b)(1).
         Turning now to the three categories of discovery in dispute, the Court grants

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                                 UNITED STATES DISTRICT COURT
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  petitioners’ Motion and denies respondents’ Motion as follows:
         1.     The A-File Materials sought by petitioners for noncitizens detained six
  months or longer in the Central District from April 21, 2010 and who spent a substantial
  portion of their time in the Central District, as described in petitioners’ proposal as set
  forth on page 13, lines 7-15 of the Joint Stipulation. The Government’s relevance and
  undue burden objections to the production of this discovery are overruled for the reasons
  stated by petitioners. Accordingly, subject to any agreement by petitioners to reduce
  their request after reviewing the database information that the Government previously
  agreed to produce, the Government is ordered to produce the A-File Materials sought by
  petitioners, to the extent such materials exist, on a rolling basis to be completed within
  sixty (60) days of the date of this ruling. The production shall be subject to the entry of
  an appropriate protective order that addresses the issues raised by respondent on page 47,
  lines 21-24 of the Joint Stipulation. If counsel are unable to agree on the terms of such
  a protective order in the meantime, they are ordered to appear in person before the Court
  on May 10, 2011 at 9:30 a.m. for the purpose of meeting and conferring under the
  Court’s auspices.
         2.     The materials sought by petitioners relating to written policies, procedures
  and practices with respect to parole determinations, post-order custody reviews, Casas
  hearings, and Joseph hearings, as described in petitioners’ proposal as set forth on page
  49, lines 11-14 of the Joint Stipulation. The Government’s relevance objection to the
  production of this discovery is overruled for the reasons stated by petitioners.
  Accordingly, the Government is ordered to produce the materials sought by petitioners,
  to the extent such materials exist, within thirty (30) days of the date of this ruling.
         3.     The requests for admissions as to which petitioners are seeking unqualified
  admissions or denials, as set forth on pages 56-58 of the Joint Stipulation. The
  Government’s relevance objections to these requests for admissions are overruled for the
  reasons stated by petitioners. Accordingly, the Government is ordered to serve
  supplemental responses that unqualifiedly admit or deny each of these requests within
  thirty (30) days of the date of this ruling.

  cc:     Judge Hatter


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